            Case 1:20-cv-01905-JEJ Document 23 Filed 10/19/20 Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL                      :
FOUNDATION,                                    :
                                               :
                     Plaintiff,                :
                                               :
       v.                                      :      NO. 1:20-cv-01905
                                               :
KATHY BOOCKVAR, in her official                :      CHIEF JUDGE JONES
capacity,                                      :
                                               :      ELECTRONICALLY FILED
                     Defendant.                :

                  MEMORANDUM OF LAW IN SUPPORT OF
                 MOTION TO STRIKE EXPERT REPORT AND
               PRECLUDE TESTIMONY OF KENNETH J. BLOCK

                                  INTRODUCTION

       In this eleventh hour litigation, Plaintiff The Public Interest Legal

Foundation (“PILF”) alleges that Secretary of the Commonwealth Kathy Boockvar

violated the National Voter Registration Act by failing to remove from the voting

rolls the names of more than 21,000 persons alleged to be deceased. In support of

this claim, PILF adduces an October 14, 2020 declaration by Kenneth J. Block and

purported analyses attached as Exhibits 4 and 5 to the Complaint (collectively, the

“Block Report”),1 which contain the names of allegedly deceased voters identified


   1
     Exhibits 4 and 5 to PILF’s Complaint were filed under seal on October 16,
2020 and thus are not attached hereto. A true and correct copy of Mr. Block’s
declaration, originally attached as Exhibit 10 to Plaintiff’s Memorandum of Law in
Motion for Preliminary Injunction, is attached hereto as Exhibit “A.”
          Case 1:20-cv-01905-JEJ Document 23 Filed 10/19/20 Page 2 of 8




upon a review of state voter registration data. The Block Report, however, runs

afoul of the Federal Rule of Civil Procedure’s expert disclosure requirements by

failing to include the data and methodology utilized by a third party “commercial

database processor” engaged by Mr. Block. The Block Report should be stricken,

and Mr. Block’s anticipated hearing testimony should be precluded.

                                    ARGUMENT

      Federal Rule of Civil Procedure 26(a)(2) establishes the disclosures required

for consideration of expert testimony. Specifically, for witnesses like Mr. Block

who provide a written report, the following information must be included with the

report:

             (i) a complete statement of all opinions the witness
             will express and the basis and reasons for them;
             (ii) the facts or data considered by the witness in
             forming them;
             (iii) any exhibits that will be used to summarize or
             support them;
             (iv) the witness’s qualifications, including a list of all
             publications authored in the previous 10 years;
             (v) a list of all other cases in which, during the
             previous 4 years, the witness testified as an expert at
             trial or by deposition; and
             (vi) a statement of the compensation to be paid for the
             study and testimony in the case.

Fed. R. Civ. P. 26(a)(2)(B). If a party fails to comply with these disclosure

requirements, that party “is not allowed to use that information or witness to




                                           2
         Case 1:20-cv-01905-JEJ Document 23 Filed 10/19/20 Page 3 of 8




supply evidence on a motion, at a hearing, or at a trial unless the failure was

substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).

       To determine whether an expert report should be stricken for failure to

comply with the Federal Rules of Civil Procedure, the United States Court of

Appeals for the Third Circuit has promulgated four factors. Meyers v. Pennypack

Woods Home Ownership Ass’n, 559 F.2d 894, 905 (3d Cir.1977), overruled on

other grounds by Goodman v. Lukens Steel Co., 777 F.2d 113 (3d Cir.1985).

Those factors include: 1) the prejudice to the party against whom the excluded

witness is to testify; 2) the ability of that party to cure the prejudice; 3) the extent

to which the witness would disrupt the orderly and efficient trial of the case; and 4)

the party’s bad faith or willfulness in failing to comply with the court’s order. Id.

Application of these factors militates in favor of excluding the Block Report and

supporting testimony.2

       PILF’s proffered Block Report, which apparently was authored by Kenneth

J. Block of Simpatico Software Systems, Inc., suggests that approximately 21,000

“likely dead” voters have not been removed from the Pennsylvania voter rolls.

(Compl. ¶ 26 and Ex. 5.) The Block Report was alleged to have been generated

through comparison of Pennsylvania’s voter registration data to the Social Security


   2
      See Withrow v. Spears, 967 F. Supp. 2d 982, 1000 (D. Del. 2013) (“If an
expert report is stricken, that action effectively precludes the expert from testifying
as to the subject matter and opinions contained in the report.”).
                                            3
         Case 1:20-cv-01905-JEJ Document 23 Filed 10/19/20 Page 4 of 8




Death Index, commercial databases, and public obituaries. (Compl. ¶ 25.) Mr.

Block’s declaration indicates that to complete his analysis, Mr. Block engaged a

“commercial database processor” which (1) “removed registrants that they

determine to be alive” from state voter registration data, (2) compared the resulting

list “against regulated data files in order to identify the full Social Security

numbers of each possibly deceased voter,” and (3) used those Social Security

numbers to search the Social Security Death Index and an unidentified credit

bureau database. (Pl.’s Br., Ex. 10, ¶¶ 8-11.)

       Despite Mr. Block’s reliance upon this “third party processor” to compile

and compare a list of potentially deceased registrants against the Social Security

Death Index and a credit bureau database, PILF has, despite demand by the

Secretary,3 failed to provide (1) the data provided to this “commercial database

processor,” (2) any communications between Mr. Block or PILF and the

“commercial database processor” related to the data analyses, (3) any source

materials relied upon by the “commercial database processor” in reaching his/her

conclusions, and (4) a sound copy of the data sets that the “commercial database

processor” delivered back to Mr. Block for his review. This failure runs afoul of



   3
      On October 17, 2020, the undersigned emailed PILF’s counsel requesting this
data. As of the time of this filing, counsel for PILF has not supplemented Mr.
Block’s report. (A true and correct copy of this October 17, 2020 email is attached
as Exhibit “B.”)
                                            4
         Case 1:20-cv-01905-JEJ Document 23 Filed 10/19/20 Page 5 of 8




the required disclosures of Rule 26. It is beyond dispute that Mr. Block did not

perform the data matching and manipulation that produced the product that Mr.

Block used to form his opinions. Rather, whatever data matching and data

manipulation that was performed was done inside the unidentified proverbial

“black box” referenced only as a “commercial database processor.”

      PILF’s failure to produce all of the data and methodology underlying Mr.

Block’s report significantly prejudices the Secretary, disrupts the orderly

administration of this matter, and, because of the late hour, prevents any correction

in time for today’s hearing. See Fed. R. Civ. P. 26(a)(2)(B)(ii) (“The report must

contain . . . the facts or data considered by the witness in forming [his opinions].”);

see also Fed. R. Civ. P. 26, 2010 Advisory Committee Notes (“At the same time,

the intention is that “facts or data” be interpreted broadly to require disclosure of

any material considered by the expert, from whatever source, that contains factual

ingredients.”). Indeed, without this underlying data and methodology, neither the

Court nor the Secretary can assess the reliability—and therefore the

admissibility—of Mr. Block’s opinions which derive entirely from the data

manipulation performed by the “commercial database processor.” See Heller v.

Shaw Indus., Inc., 167 F.3d 146, 152 (3d Cir. 1999) (expert’s opinions “must be

based on reliable methodology and must reliably flow from that methodology and

the facts at issue”) (citing Fed. R. Evid. 702); see Audubon Eng’g Co. LLC v. Int’l


                                           5
         Case 1:20-cv-01905-JEJ Document 23 Filed 10/19/20 Page 6 of 8




Procurement & Contracting Grp. LLC, 647 F. App’x 95, 99 (3d Cir. 2016) (district

court correctly declined to consider a report that “fails to set forth the facts or data

considered” because “it deprives [opposing party] of the means to determine the

foundation for the opinion.” (internal quotation marks omitted)).

       Nor is the failure to provide this data and methodology “substantially

justified” given the substance of Mr. Block’s report. “Substantial justification” is

considered “justification to a degree that could satisfy a reasonable person that

parties could differ as to whether the party was required to comply with the

disclosure request.” Tolerico v. Home Depot, 205 F.R.D. 169, 175 (M.D. Pa.

2002) (internal quotations omitted). Reasonable minds could not differ as to

PILF’s obligation to produce key data and methodology given the extensive role

which the “commercial database processor” played within Mr. Block’s analysis.

See, e.g., Derrickson v. Circuit City Stores, Inc., No. DKC 95-3296, 1999 WL

1456538, at *8 (D.Md. Mar. 19, 1999) (requiring disclosure of underlying data that

was subjected to various selection, aggregation and weighting processes by

expert’s assistant); In re Sabine Oil & Gas Corp., 555 B.R. 180 (Bankr. S.D.N.Y.

2016) (noting that an expert must provide “exactly what numbers” and

methodology were used).4



   4
     Pursuant to Local Rule 7.8(a), the unpublished decisions cited herein are
reproduced in the attached Appendix.
                                            6
        Case 1:20-cv-01905-JEJ Document 23 Filed 10/19/20 Page 7 of 8




                                CONCLUSION

      For the reasons set forth above, the Block Report should be stricken from the

record and Mr. Block’s anticipated testimony precluded.

                                            Respectfully submitted,

                                            /s/ Daniel T. Brier
                                            Daniel T. Brier
                                            Donna A. Walsh
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                                            Suzanne P. Scanlon
                                            Richard L. Armezzani

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                                            Boockvar, Secretary of the
                                            Commonwealth of Pennsylvania

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Dated: October 19, 2020




                                        7
        Case 1:20-cv-01905-JEJ Document 23 Filed 10/19/20 Page 8 of 8




                         CERTIFICATE OF SERVICE

      I, Daniel T. Brier, hereby certify that, on October 19, 2020, I filed the

foregoing document with the Clerk of the Court via the CM/ECF system, which

will send notification of such filing to all counsel of record who are deemed to

have consented to electronic service.


                                              /s/ Daniel T. Brier
                                              Daniel T. Brier
